                                   Case 20-10738-BLS                 Doc 1        Filed 03/31/20            Page 1 of 10


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE, WILMINGTON DIVISION

Case number (if known)                                                      Chapter       11
                                                                                                                               Check if this an amended
                                                                                                                               filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                United
                                  UnitedStates
                                         Statesof America Rugby
                                                  of America    Football
                                                             Rugby       Union, Ltd.
                                                                     Football

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2655 Crescent Dr                                                2655 Crescent Dr
                                  Ste A                                                           Ste A
                                  Lafayette, CO 80026-3373                                        Lafayette, CO 80026-3373
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New Castle
                                  Boulder County                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




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                                       Case 20-10738-BLS                 Doc 1         Filed 03/31/20               Page 2 of 10
Debtor    United Statesofof
          United States     America
                         America    Rugby
                                 Rugby     Football
                                       Football Union, Ltd.                                             Case number ( if known )
          Name


7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              713990

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                  less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow statement,
                                                                  and federal income tax return or if all of these documents do not exist, follow the procedure in 11
                                                                  U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to proceed
                                                                  under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                  Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                 No.
     cases filed by or against the
     debtor within the last 8              Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                    Case number
                                                  District                                 When                                    Case number

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                       Relationship
                                                  District                                 When                                Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 2
                                Case 20-10738-BLS                       Doc 1        Filed 03/31/20              Page 3 of 10
Debtor   United States
         United States of of
                          America Rugby
                             America    Football
                                     Rugby       Union, Ltd.
                                            Football                                                 Case number ( if known )
         Name


11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
                                             Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal       Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                           X After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                               1,000-5,000                                  25,001-50,000
    creditors                                                                          5001-10,000                                  50,001-100,000
                                    50-99
                                    100-199                                            10,001-25,000                                More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                   X $1,000,001 - $10 million                       $500,000,001 - $1 billion
                                    $50,001 - $100,000                                 $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                                $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion


16. Estimated liabilities           $0 - $50,000                                    X $1,000,001 - $10 million                      $500,000,001 - $1 billion
                                    $50,001 - $100,000                                 $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                                $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
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  Mark M. Billion
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                Case 20-10738-BLS        Doc 1       Filed 03/31/20   Page 7 of 10




                                  \ryRITTEI{ COI{SENT
                             OF THE BOARD OF DIRECTORS
                                                OF
                              USA Rugby Football Union, LTD.

Being tlre Directors of the United States of America Rugby Football Union, LTD, D/B/A USA
Rugby, (the "Corporation"), agrees and consents to the adoption of the following resolution and
directs the Secretary of the Corporation to file this resolution of the Board of Directors with the
Corporation's legal records:

WHEREAS the Board of Directors of USA Rugby appointed a special task force on or about
December 2019 with the purpose to study, investigate and recommend changes to the existing
organrzatianal, fiscal and operational structures given the challenges of the Corporation existing
at that time;

WHEREAS since the appointment of the special task force. the Corporation has been hit by the
additional financial hardship caused by the COVID-19 r,irus and its disabling effect on rugby in
the United States and across the world;

AND WTIEREAS in the midst of a nationu'ide struggle to rniti-sate financial damages, United
World Sports, LLC, Arnerican International Media- LLC and USA Sevens" LLC have brought an
arbitration action requiring additional output of funds to def'end and ri'hich requires an answer by
April 1,2020;

NOW TIIEREFORE, BE IT RESOL\TD. that the Board of Directors upon receiving input
from the Chief Financial Officer. the Special Task Force. the standing committee on Audit and
Risk, bankruptcy legal counsel and upon completing its orrn due diligence, now votes to file for
protection under Chapter 11 of the United States Bankruptn' Code. contingent on the receipt of a
promise to pay emergency financial assistance frorn \\rorld Rugb,v as a lender in bankruptcy
post-filing and to fonvard this resolution for r,ote and ratification b1'the Congress of USA Rugby
in accordance rvith Article 4 1(fl of the b).la*'s.


THIS WRITTEN CONSENT of the Directors of the Corporation may be executed in more than
one counterpart, each of which shall be deemed an original and all of which together shall
constitute one instrument.


Signature page to follow




                                                 1
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DATED: March 27-2020

       Unanimously voting in the ffirmative'.

                                         Barbara O'Brien, Chair

                                         Paul Santinelli, Vice Chair

                                         Michael Crafton, Director

                                         Julie Lau, Director

                                         Mike McKenna, Director

                                         Jim Brown, Director

                                         Phaidra Knight, Director

                                         Kevin Swiryn, Director



USA RUGBY CONGRESS                                      this resolution through a vote of its
membership held on March 29,



                                                        4/a t5 t/sA /z ucay' eoa etGs s




                                            2
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      Fill in this information to identify the case:

                   United States of America Rugby Football Union, Ltd.
      Debtor name __________________________________________________________________

      United States Bankruptcy Court for the: ______________________ District of _________
                                                                                  DE
                                                                              (State)
                                                                                                                                               Check if this is an
      Case number (If known):   _________________________
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

1     USA Sevens LLC                         Steven M. Lucks                                       Contingent
      United World Sports LLC                277 Broadway Suite 408                                Unliquidated                                          $40 million is
      American International Media LLC                                         Arbitration
                                             New York, NY 10007                                    Disputed                                              demanded by the
      277 Broadway Suite 408,                (646) 755-9200                    Demand
                                                                                                                                                         creditor
      New York, NY 100007
2                                            Edward H. Tillinghast, III
      World Rugby Limited                                                       Loan                                                                     $3,600,000.00
      World Rugby House 8-10                 30 Rockefeller Plaza
      Pembroke Street Lower                  New York, NY 10112-0015
      Dublin 2 Ireland                       (212) 634-3050
3     McGuireWoods LLP
      Attn: Accounts Receivable       Charles McIntyre           Prof. Svcs.
      800 E. Canal Street             2001 K STREET N.W.SUITE 400                                                                                        $278,337.46
      Richmond, VA 23219              Washington, DC 20006
                                      202 857 1742
4
      USI Insurance Services Northwest Same
      PO Box 62949                     914.749.8500              Insurance                                                                               $205,450.91
      Virginia Beach, VA 23466

5     United States Olympic Committee         Amy Kragel
      1 Olympic Plaza                         Same                              Trade                                                                    $152,816.74
      Colorado Springs, CO 80909              719-632-5551

6     US Bank
      12800 Foster Street                     Same                              Loan                                                                     $141,858.22
      Overland Park, KS 66213-2623            (800) 872-2657


7     JP Morgan Chase Bank, NA Credit Card                                      Loan
      1301 Canyon Blvd                 Same                                                                                                              $120,943.32
      Boulder CO 80302                 (800) 935-9935

8     Courtyard by Marriott
      Cherry Creek                            Same                              Travel                                                                   $88,834.42
      1475 South Colorado Blvd                303-757-8797
      Denver, CO 80222



    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
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    Debtor       _______________________________________________________                          Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                          debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated,   total claim amount and deduction for value of
                                                                            services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

9                                              Same
      Bryan Cave Leighton Paisner                                             Prof. Svcs.                                                                    $81,488.50
                                               303-861-7000
      PO Box 503089
      St. Louis, MO 63150-3089
10                                         Jessica Day
      Hudl                                 Same                                 Trade                                                                        $63,486.00
      PO BOX 84610
                                           (402) 817-0060 x 02
      LINCOLN, NE 68501-4610

11    National Center for Safety Initiatives                                                                                                                 $50,705.00
                                                   Jade Bryant
      PO Box 74007056                              Same                         Trade
      Chicago, IL 60674                            (866) 833-7100

12
      Transworld Media International DBA IMG Media
      11 Madison Ave, 17th Floor       Anthony D'Imperio                        Trade                                                                        $50,000.00
      New York, NY 10010               Same
                                       (212)586-5100
      Rugby Canada
13    30 East Beaver Creek Rd. Ste 110 Same                                                                                                                  $46,035.61
                                          (250) 418-8998                        Trade
      Richmond Hill, ON L4B 1J2


14    Elite Athlete Services                                                                                                                                 $40,995.00
      2800 Olympic Parkway                      (619) 656-1500
                                                                                Trade
      Chula Vista, CA 91915-6000

      Rice University Housing & Dining
15    6100 Main Street, MS-750                  Attn: Conference Services
                                                                                                                                                             $26,232.00
      Houston, TX 77005                         Same
                                                (713) 348-0000                  Trade


16    City of Glendale                         Linda Cassaday
      Rugby Department                         Same                                                                                                          $25,000.00
                                                                                Trade
      950 S. Birch St.                         (303) 759-1513
      Glendale, CO 80246
17
      STATSports Ireland BT35 8QS          (888) 790-3967                                                                                                    $24,499.98
                                                                                Trade
      2600 Campus Drive, Bldg J, K & L
      1512 Larimer Street Suite 100 (Bridge Level)
      Denver, CO 80202
18                                                                                                                                                           $19844.00
                                                                                Travel
      Hampton Inn & Suites Glendale            (303) 692-1800
      4150 E. Kentucky Ave.
      Glendale, CO 80246
19                                                                                                                                                           $18778.78
      Rugby Athletic                            (952) 542-1157                  Trade
      5600 Feltl Rd.
      Minnetonka, MN 55343

20     Crown Trophy - Boulder
       4665 Nautilus Ct., Suite 500         (303) 443-3151                      Trade
                                                                                                                                                            $15,954.00
       Boulder CO 80301




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 2
